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 Dear Judge Scarcella,

 I initiated this proceeding nearly 5 years ago seeking discharge of my student loan debt.
 As someone without any prior bankruptcy experience, I was naïve enough to believe this
 was possible even though seasoned practitioners warned me I was wasting my time and
 that it was "impossible" to wipe out student debt in bankruptcy. But when I read the
 criteria set forth in Brunner (as rigorous as the standard is), I felt it was a precise
 description of my situation. I would attempt to do the impossible and though I knew I
 was embarking on an arduous task, I never imagined I'd still be here 5 years later.

 Thankfully, I was able to reach a reasonable settlement with the holders of my federal
 student loans. But 5 years later, I'm still involved in this battle to be relieved of my
 private student loan debt burden. As the April 30 deadline for filing witness lists,
 exhibits, and pretrial statements approached, I felt this huge weight come over me. I
 found myself emotionally tapped out. I dreaded sifting through thousands of pages of
 bank statements, bills, medical records, etc. in attempt to prove my hardship to the
 court again - my first attempt being my motion for summary judgment. No longer the
 inexperienced pro se plaintiff, with the knowledge I’ve gained over the years I was even
 more discouraged knowing that my efforts would likely prove futile.

 It would not be a fair fight. The system is broken, designed for me to fail. I'm up against
 a student loan industry that sets up young people full of promise and hope for a
 prosperous future with a debt they can never escape unless they are dead or dying, a
 system that takes advantage of parents desperate to give their children access to a good
 education, laws that allow student loan debt to follow borrowers to the grave or require
 that they meet an unreasonable high burden if they are ever to be free of it, laws that
 use an outdated, obsolete test to determine whether a borrower’s circumstances are
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“hopeless” enough to be deserving of relief. The fact that Brunner has been the
standard since 1987 is astonishing! This speaks to how broken the system really is. Since
Brunner was decided in 1987, college tuition has quadrupled while salaries have
remained the same. Higher learning institutions and banks are flourishing and pocketing
huge profits while students struggle to repay these predatory loans for worthless
degrees.

So, I am throwing in the towel. My threshold for pain is higher than most, but even I,
have had enough. I am choosing not to give any more of my time, energy or resources
to this proceeding but instead to use my efforts in a more productive manner. Instead I
will empower others with the information I wish I had before I ever took out student
loans. I am committed to helping student loan debtors get their financial freedom by
any means necessary. To date, I have saved my clients (including myself) nearly half a
million dollars on student loan debt through the bankruptcy process and administrative
remedies.

My choice to give up this fight has nothing to do with the merits of my case but more to
do with self-preservation. I do not wish to explain every meal out, manicure or movie
ticket in open court while the fact that I still live in my childhood home at the age of 40
(not by choice but because I cannot afford to leave) is ignored or glossed over. I will not
apologize for my choice to continue to work in my struggling law practice rather than
getting a "job". My choices will never make sense in a world where the expectation is
that I choose work that brings in the most money over work that brings me joy and
satisfaction.

I won’t subject myself to being badgered by an adversary whose job it is to paint me as
lazy and irresponsible when common sense tells us that we wouldn’t even be here if
that were true. A large majority of sickle cell patients who have managed to survive to
the age of 40 never even finished college, let alone grad school. I’d have an easier time if
I collected a disability check, applied for a disability discharge of my federal loans and
remain judgment proof to private lenders. Instead, I chose to fight for what I believe in
and challenge the status quo. I’m heartbroken, not only for myself but for all student
loan borrowers, that bankruptcy law protects even drug addicts and gamblers but
specifically excludes from protection those who went into debt in pursuit of higher
education. This is appalling to me and anyone with a sense of what’s fair and just
should be appalled as well.




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 Change takes time. Chattel slavery remained an institution in this country for 400 years.
 Though I don't anticipate it will take that long for student debt "slaves" to get their
 freedom, I realize that progress can be slow, especially when the powers that be benefit
 from what's broken. So, I'll keep waiting for a change and I hope that in my lifetime I can
 look back on the last several decades as a dark time in American history when the
 government and private lending institutions preyed on the most vulnerable members of
 society for profit and be grateful for how far we've come.

It won’t be the first time I’m waiting on the world to change. I eliminated meat and dairy
from my diet long before vegan options became widely available. I wore my hair natural
way before it was trendy. I chose meditation over medication in world where there’s a
pill for all that ails you and more pills to treat the side effects of the other pills. I'm
proud of what I've been able to accomplish, and I wouldn't change any of it. I won't put
myself through trial preparation and a trial. I won't. Change is coming. I will wait.




Warm regards,
Natalie Jean-Baptiste




Plaintiff Pro Se




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